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                                   STATEMENT OF FACTS

        Your affiant, Jamie Vera, is a Special Agent assigned to the Federal Bureau of
Investigation’s (FBI) Washington Field Office. Currently, I am a tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Subsequent to the incident at the U.S. Capitol, the FBI began publishing wanted posters on
their website: https://www.fbi.gov/wanted/capitol-violence, which showed individuals inside of
the U.S. Capitol. The posters were numbered and given the title “Photograph” followed by a
number starting with number 1 (i.e. Photograph 1). One of the wanted posters—Photograph 19—
which is illustrated below as Figure One depicted three individuals. The individual on the left side
of the photograph is not wearing a face mask and most of his face is visible. He appears to be a
white male with dark hair in a ponytail and facial hair. This individual was wearing a red hooded
sweatshirt that stated, “Keep America Great” across the chest, jeans, and dark-colored combat-
style boots; he was also carrying a long, cylindrical-shaped object, approximately two to three feet
long in his left hand.




                                                Figure One

       Two witnesses (“Witness One” and “Witness Two”) submitted tips to the FBI with attached
photographs identifying GRAYSON SHERRILL (“SHERRILL”) as an individual seen in the U.S.
Capitol on January 6, 2021. More specifically, the photographs submitted by the witnesses depict
SHERRILL as the same individual described above, pictured in Photograph 19. Law enforcement
has contacted and interviewed both witnesses.

        Witness One identified SHERRILL as a family member. Witness One told law
enforcement that SHERRILL’s father texted another family member a picture of SHERRILL
inside of the U.S. Capitol and said that it was SHERRILL. Witness One said they typically see
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SHERRILL about once a year. Witness One included a picture with their tip to the FBI, which is
illustrated below as Figure Two.




                                            Figure Two

         Witness Two also identified SHERRILL as a family member. Just like Witness One,
Witness Two told law enforcement that SHERRILL’s father sent a “screen grab” of a picture of
SHERRILL inside the U.S. Capitol to other family members and said that SHERRILL had traveled
to Washington D.C. Witness Two attached two pictures to their tip submitted to the FBI. One of
the attachments was the same picture illustrated above as Figure Two. The other picture is
illustrated below as Figure Three, which appears to be a cropped version of Photograph 19.
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                                                      Figure Three

       Law enforcement located a photograph (Figure Four) on the website of Getty Images,
which appears to be a similar shot of Figure Two, taken from further away.1




1
    https://www.gettyimages.com/detail/news-photo/supporters-of-us-president-donald-trump-enter-the-us-news-
    photo/1230453071?adppopup=true
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                                                      Figure Four

       The statue in Figure Four has been identified by U.S. Capitol Police as a statue of Dwight
D. Eisenhower, which is located inside of the Rotunda of the U.S. Capitol Building. This
information was also confirmed on the U.S. Capitol’s website, which lists all of the statues inside
of the U.S. Capitol with a photograph of the statue and the statue’s location within the U.S.
Capitol.2

       Law enforcement obtained a driver’s license photograph for SHERILL from North
Carolina. Your affiant reviewed the photograph and SHERRILL’s features in the driver’s license
photograph appear to match the individual pictured in Figures One, Two, Three and Four above.


        Your affiant has reviewed and collected video provided by the U.S. Capitol Police, which
includes security camera footage inside and outside of the U.S. Capitol Building. While reviewing
this footage, your affiant observed an individual who appears to be SHERRILL outside and inside
of the U.S. Capitol, specifically inside of the Rotunda and in a hallway just outside of the Rotunda.
The following images are a sampling of screenshots obtained from that footage. SHERRILL is
circled in red.




2
    https://www.aoc.gov/explore-capitol-campus/art/dwight-d-eisenhower
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                                               Figure Five




                                                Figure Six

        Based on the foregoing, your affiant submits that there is probable cause to believe that
GRAYSON SHERRILL violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
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visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that SHERRILL violated 40
U.S.C. § 5104(e)(2)(D) and (G),which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                   _________________________________
                                                   JAMIE VERA
                                                   FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 23rd day of February 2021.
                                                                          2021.02.23
                                                                          12:28:58 -05'00'
                                                   ___________________________________
                                                   ZIA M. FARUQUI
                                                   U.S. MAGISTRATE JUDGE
